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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

      UNITED STATES OF AMERICA

      vs.                                           CASE NO. 6:08-CR-117-ORL-19GJK

      ROHAN OLIVER DUNN

                                               ORDER

             This case having been considered by the Court on Report and Recommendation

      Concerning Plea of Guilty (Doc. No. 48, filed May 14, 2009) and no objection thereto

      having been filed, it is ORDERED:

             1.      The Report and Recommendation of the United States Magistrate Judge (Doc.

      No. 48) is ACCEPTED, AFFIRMED AND ADOPTED.

             2.      Defendant Rohan Oliver Dunn has entered a plea of guilty to Counts Two,

      Three, Ten, and Eleven of the Indictment knowingly, intelligently and voluntarily. Such plea

      is accepted, and Defendant is adjudicated guilty of Counts Two, Three, Ten, and Eleven of

      the Indictment.

             3.      Ruling on acceptance of the Plea Agreement (Doc. No. 44, filed May 14,

      2009) is deferred until the time of sentencing.

             DONE AND ORDERED at Orlando, Florida, this             16th
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                                                             day of May, 2009.




      Copies to:
      Assistant United States Attorney
      Attorney for Defendant
      United States Marshal
      United States Probation
      United States Pretrial Services
      Defendant
      Courtroom Deputy
